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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
         Plaintiff,                             )
                                                )
vs.                                             )       No.: 05-30072-GPM
                                                )
MARC KING                                       )
                                                )
         Defendant.                             )

                                                    ORDER

         Before the Court defendant Marc King’s Motion to Amend Conditions of Pre-Trial Release. (Doc.
29). For good cause shown, the subject motion (Doc. 29) is GRANTED.


         It is hereby ordered as follows:


         A. The Defendant, Marc King, shall be permitted to travel to and remain in West Virginia for that
             period between and including May 26, 2005 through June 1, 2005 for the purposes of
             attending a pre-planned family reunion.
         B. That the Defendant, Marc King, shall on or before June 1, 2005 return to and remain in the
             Southern District of Illinois or the Eastern District of Missouri until further order of this court.
         C. That the Defendant, Marc King, shall otherwise comply with this court’s Order of May 5,
             2005 and the conditions of his release.
         IT IS SO ORDERED.

         DATED: May 25, 2005
                                                        s/ Clifford J. Proud
                                                        CLIFFORD J. PROUD
                                                        U. S. MAGISTRATE JUDGE
